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EXHIBIT E
TO
RESPONSE OF PLAINTIFFS’ STEERING COMMITTEE TO BENCH

MEMORANDUM OF CERTAIN DEFENDANTS
REGARDING CHAPTER 558, FLORIDA STATUTES
Case 2:09-md-02047-EEF-MBN Document 263-5 Filed 09/22/09 Page 2 of 3
Case 1:09-cv-20510-KMM Document 20-6 Entered on FLSD Docket 04/02/2009 Page 2 of 2

ERVIN A, GONZALEZ
Bowidl Certified Civil é
8 inte Trial Alto; -
March 10,.2009

Via Certified Mail wid First Class Mull

Taylor-Woodrow Communtities at Vasari

cio NRAI Services, Inc., Registered Agerit

2721 Bxecutive Park Drive, Suite 4 ,

Weston, FL. 33331

Re: Defective Drywall Glass Action
To Wharn It May GConcerie

Pursuant to Movida Statuteydhapter $58 on Behalf of Jamis. Tarzy; destdtee s
28479 Alitesa Way, #101, Boriita Springs, FL 34135, we-write to eevee eer

_, liv ordlet to ity this froblin, the following items tiust be-retnoved anid replaced: al
of tit deyival i theshoné, all of the ledringid the home, thé-ait contditioning till),
cabinetry, eles, any affected elochcal wising aid plimbing, You ero aie reeponsible

Case 2:09-md-02047-EEF-MBN Document 263-5 Filed 09/22/09 Page 3 of 3
Case 1:09-cv-20510-KMM Document 20-6 Entered on FLSD Docket 04/02/2009 Page 2 of 2

ERVIN A, GONZALEZ
Board Certified Civil &
Bi nit Trial. Ato: -
Mazch 16,2008
Via Certified Mail wid First Class Mult
Taylor-Woodrow Communities at Vasari
c/o NRAT Services, Inc., Registered Agenit

2731 Executive Park Drive, Suite 4
Weston, FL, 33331

Re: Dafective Drywall Gloss Action
To Whom It May Concent

Fursuaht to Florida Statutes chapter $58 on Behalf of femewB, Taney; testding ut
28479 Alieut Way, #101, Bonita Springs, PL 34135, we write to prévids you notioe-of*

fixtures, furnishings, and potently health. The probletn causes economic duimages and
potential peisoual infury aud an indreasid risk of future health problems,

___Trortler to fix this protien, the following items-iiast be-retnoved aid replaced: all
of thit drywall itt thehonie, ill of the flodving in the Rome, thé-alt dotalitioning unit(s),
cdbineizy, minors, atly attected electrical wiring-arid plumbing, You are alio responsible
for cohmequetid damages tt Tie forte of tio Ving dusts dud eohipenibleteplacement
eco ote slag atc pees ae

it of medical monituring and damage rélated to potential personal iajury, ‘Th
horneoWriers have also sulftead etonotiis daniuged foi Te loss of ville of thelr honié,
ag d result of the stigthi-attackied to their Howse becatiwof the deféetive diywall,
Pursuant ‘to Florida, Statites seotion 558.008(5) you live 48 days to Servern written
résporise upon Undeisigned counsel on how your intend to remedy this
Sons, please.dg ho

forward to your early reply. Should you have any ge
contact tis, .

